    Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 1 of 39 Page ID #:3583




1    DAVID C. SHONKA                                             ~Rf~~N~L
     Acting General Counsel
2    CHARLES A. HARWOOD
3    Regional Director
     ELEANOR DURHAM,MD Bar
4    NADINE S. SAMTER,WA Bar # 23881
5    Email: edurham@ftc.gov/nsamter@ftc.gov
     Federal Trade Commission
6
     915 2"d Ave., Suite 2896, Seattle, WA 98174
                                                 )
7    (206)220-4476(Durham)/(206) 220-63..66(fax
8     MARICELA SEGURA,CA Bar #22599
      Email: msegura@ftc.gov
9     10990 Wilshire Blvd., Los Angeles, CA 90024
10   (310)824-4343/(310) 824-4330(fax)
11                         UNITED STATES DISTRICT COURT
12                        CENTRAL DISTRICT OF CALIFORNIA
13
14 FEDERAL TRADE COMMISSION,
                                                  .~~-o~o4~~~
                                                     MEMORANDUM OF POINTS        AND
15                                                   AUTHORITIES IN SUP   POR T OF
                Plaintiff,                           PLAINTIFF'S EXPARTS         ARY
16                                                   APPLICATION FOR TEMPOR     ET
                                                     RESTRAININ  G ORD ER, ASS
17                            vs.                    FREEZE APPOINTMENT OF A
18                                                   IMMEDIATEACCESSLI     RIZIITED
             ALLIAN   CE  DOC  UME  NT               EXPEDITED DISCOV    ERY  AND
19       ~, PREPARATION,LLC, also dba EZ              OTHER E UIT  ABL E REL IEF
                                                      AND ORD~R TO SHOW CAUSE
20         ~ Doc Preps, Grads Aid, and First          WHY PRELIMINARY
              Document  Aid; SBS  CAP ITA  L          INJUNCTION SHOULD NOT
21          ~ GROUP,INC., also dba Grads United       ISSUE
22            Discharge; SBB HOLDINGS,LLC,also FILED UNDER SEAL
              dba EZ Doc Preps, Allied Doc Prep, and
23
              Post Grad Services; FIRST STUDENT
24            AID, LLC; UNITED LEGAL CENTER;
 25           LLC, also dba Post Grad Aid, Alumni
              Aid Assistance, and United Legal
    26        Discharge; UNITED LEGAL CENTER,
    27        INC., also dba United Legal Discharge;
              ELITE CONSULTING SERVICE,
    28
                                                                   Federal Trade Commissi
                                            IES                       915 2"d Ave., Ste. 28
          MEMORANDUM OF POINTS AND AUTHORIT                        Seattle, Washington 981
          IN SUPPORT OF TRO                                                   (206)220-63
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 2 of 39 Page ID #:3584



 1    DAVID C. SHONKA
      Acting General Counsel
 2    CHARLES A. HARWOOD
 3    Regional Director
      ELEANOR DURHAM,MD Bar
 4
      NADINE S. SAMTER, WA Bar # 23881
 5    Email: edurham@ftc.gov/nsamter@ftc.gov
      Federal Trade Commission
 6
      915 2°d Ave., Suite 2896, Seattle, WA 98174
 7   (206)220-4476(Durham)/(206)220-6366 (fax)
 8    MARICELA SEGURA,CA Bar #225999
      Email: msegura@ftc.gov
 9    10990 Wilshire Blvd., Los Angeles, CA 90024
10   (310)824-4343/(310)824-4330(fax)
11
                       UNITED STATES DISTRICT COURT
12                    CENTRAL DISTRICT OF CALIFORNIA
13
14 FEDERAL TRADE COMMISSION,                ~UN~.7
15                                            MEMORANDUM OF POINTS AND
                                              AUTHORITIES IN SUPPORT OF
                Plaintiff,                    PLAINTIFF'S EXPARTS
16
                                              APPLICATION FOR TEMPORARY
17                    vs.                     RESTRAINING  ORDER,ASSET
                                              FREEZE APPOINTMENT OF A
18                                            TEMP012ARY RECEIVER
     ALLIANCE DOCUMENT                        IMMEDIATE  ACCESS LIMITED
19                                            EXPEDITED DISCOVERY AND
     PREPARATION,LLC, also dba EZ             OTHER E UITABLE RELIEF
20   Doc Preps, Grads Aid, and First          AND ORD~R TO SHOW CAU~E
     Document Aid; SBS CAPITAL                WHY PRELIMINARY
21                                            INJUNCTION SHOULD NOT
     GROUP,INC., also dba Grads United ' ISSUE
22   Discharge; SBB HOLDINGS,LLC, also.
                                              FILED UNDER SEAL
23   dba EZ Doc Preps, Allied Doc Prep, and
     Post Grad Services; FIRST STUDENT
24   AID, LLC; UNITED LEGAL CENTER,
25   LLC, also dba Post Grad Aid, Alumni
     Aid Assistance, and United Legal
26   Discharge; UNITED LEGAL CENTER,
27   INC., also dba United Legal Discharge; .
     ELITE CONSULTING SERVICE,
28
                                                             Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHORITIES                       915 2°d Ave., Ste. 289E
     IN SUPPORT OF TRO                                       Seattle, Washington 98174
                                                                        (206)220-635C
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 3 of 39 Page ID #:3585



 1   LLC,fka FIRST GRAD AID,LLC, also
     dba First Grad Aid and; GRADS DOC
 2   PREP,LLC, also dba Academic Aid
 3   Center, Academic Protection, Academy
     Doc Prep, and Academic Discharge;
 4
     ELITE DOC PREP,LLC, also dba
 5   Premier Student Aid; BENJAMIN
 6   NADERI aka Benjamin Pournaderi and
     Benjamin Brooks; SHAWN GABBAIE
 7   aka Shawn Goodman; AVINADAV
 8   RUBENI aka Avi Rubeni; MICHAEL
     RATLIFF; RAMIAR REUVENI aka
 9   Rami Reuveni; and FARZAN
10   AZINKHAN,
11
                      Defendants, and
12
13 DIRECT CONSULTING SERVICE,
   LLC; and CAPITAL DOC PREP,INC.,
14
15                    Relief Defendants.
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                              Federal Trade Cotnmissio
     MEMORANDUM OF POINTS AND AUTHORITIES                        915 2"d Ave., Ste. 289
     IN SUPPORT OF TRO                                        Seattle, Washington 9817
                                                                         (206)220-635
  Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 4 of 39 Page ID #:3586



  1
 2                                  Table of Contents
   I. INTRODUCTION............................................................................................... 1
 3
   II. DEFENDANTS...................................................................................................3
 4 A. Corporate Defendants ...................................................................................... 3
 5    B.      Individual Defendants......................................................................................
 6 C.         Relief Defendants.............................................................................................
 7 III. DEFENDANTS'DECEPTIVE BUSINESS PRACTICES................................
   A. Federal Student Loan Programs.......................................................................
 8
   B. Defendants' False and Unsubstantiated Student Loan Debt Relief
 9
          Representations ...............................................................................................
10
   IV. A TEMPORARY RESTRAINING ORDER SHOULD ISSUE AGAINST
11        THE DEFENDANTS....................................................................................1
                                                                                     Relief........................ l
12 A. This Court Has the Authority to Grant the Requested
   B. The FTC Meets the Standard for Granting A Government Agency's Request
13
         for Preliminary Injunctive Relief..................................................................19
14
       1 The FTC Has Demonstrated It Is Likely to Succeed on the Merits ........... 20
15
       2 The Equities Weigh in Favor of Granting Injunctive Relief...................... 23
16
   C. Defendants are a Common Enterprise and Jointly and Severally Liable for
17        the Law Violations ........................................................................................ 24
18 D.         The Individual Defendants are Liable for Injunctive and Monetary Relief.. 25
19 E.         An Asset Freeze is Necessary to Preserve the Court's Ability to Fashion
              Meaningful Relief......................................................................................... 27
20
      F.      A Temporary Receiver is Needed to Determine the Scope of Injury, Locate
21
              and Preserve Business Assets and Records, and Protect Consumers' Person.
22            Financial Records.......................................................................................... 3
23    G.      Immediate Access and Limited Expedited Discovery are Necessary ........... 31
24 H.         The Ex Parte TRO Should Issue Without Notice.......................................... 31
25    V. CONCLUSION ................................................................................................. 3
26
27
28
                                                                                                 Federal Trade Commission
      MEMORANDUM OF POINTS AND AUTHORITIES                                                          915 2"d Ave., Ste. 289E
      IN SUPPORT OF TRO - i                                                                      Seattle, Washington 9817
                                                                                                            (206)220-635(
  Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 5 of 39 Page ID #:3587



  1                                                    Table of Authorities
 2     Cases
 3     Commodity Futures Trading Comm'n v. British Am. Commodity Options Corp.,
 4       560 F.2d 135 (2d Cir. 1977)................................................................................. 25
 5    Delaware Watch Co. v. FTC,332 F.2d 745(2d Cir. 1964).................................... 26
 6 Flynt Distrib. Co., Inc., v. Harvey, 734 F.2d 1389(9th Cir. 1984)........................ 21
 7 FTC and State ofFlorida v. Consumer Assistance, LLC, 16-cv-21528 FAM (S.D.
 8       Fla. Final Order 1/12/17)....................................................................................... 1
 9 FTC and State ofFlorida v. Student Aid Center, Inc., 16-cv-21843 FAM (S.D. Fla.
10  Final Order entered 8/31/17)................................................................................... 1
11    FTC v. Advanced Mgmt. Servs. NW, LLC, CV-10-148-LR (E.D. Wash. May 10,
12       2010)..................................................................................................................... 33
13 FTC v. Affordable Media, LLC, 179 F.3d 1228 (9th Cir. 1999)......................passim
14 FTC v. Amy Travel Servs., Inc., 875 F.2d 564(7th Cir. 1989 ....................28, 29, 30
15    FTC v. Beatrice Foods Co., 587 F.2d 1225 (D.C. Cir. 1978)................................. 20
16 FTC v. Consumer Health Benefits Association, 2011 WL 3652248 (E.D. N.Y. Aug.
17  18, 2011)............................................................................................................... 26
18 FTC v. Cyberspace.com, LLC,453 F.3d 1196 (9th Cir. 2006)...................21, 23, 29
19 FTC v. Devey Education Group, Inc., CV 16-00579 MWF-SS(C.D. Cal. Dec. 15,
20       2016)....................................................................................................................... 2
21    FTC v. Direct Benefits Group, LLC, 2013 WL 3771322(M.D. Fla. July 18, 2013).
22       ............................................................................................................................... r....
23 FTC v. Figgie Intl, Inc., 994 F.2d 595 (9th Cir. 1993).......................................... 23
24 FTC v. Five-Star Auto Club, 97 F. Supp. 2d 502(S.D.N.Y. 2000).................. 22, 25
25    FTC v. Gem Merch. Corp., 87 F.3d 466(11th Cir. 1996)......................................19
26 FTC v. Gill, 265 F.3d. 944(9th Cir. 2001)............................................................. 21
27 FTC v. Gill, 71 F. Supp. 2d 1030(C.D. Cal. 1999).......................................... 21, 23
28
                                                                                                              Federal Trade Commission
      MEMORANDUM OF POINTS AND AUTHORITIES                                                                       915 2°d Ave., Ste. 289E
      1N SUPPORT OF TRO - ii                                                                                  Seattle, Washington 98174
                                                                                                                         (206)220-635C
  Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 6 of 39 Page ID #:3588



  1   FTC v. Good EBusiness, LLC, et al., CV16-1048 ODW(JPRx)(C.D. Cal. Final
 2      Order entered 7/12/16)............................................................................................1
 3 FTC v. H.N. Singer, Inc., 668 F.2d 1107(9th Cir. 1982)...........................18, 19, 3C
 4 FTC v. Johnson, 96 F. Supp. 3d 1110(D. Nev. Mar. 31, 2015)............................. 23
 5 FTC v. Lancaster Colony Corp., 434 F. Supp. 1088(S.D.N.Y. 1977)................... 20
 6 FTC v. Network Servs. Depot, Inc., 617 F.3d 1127(9th Cir. 2010)................. 28, 29
 7 FTC v. Pantron I Corp., 33 F.3d 1088 (9th Cir. 1994)...............................19, 21, 22
 8 FTC v. Publ'g Clearing House, Inc., 104 F.3d 1168 (9th Cir. 1997)...............28, 29
 9 FTC v. Stefanchik, 559 F.3d 924(9th Cir. 2009)........................................19, 21, 28
10 FTC v. Strategic Student Solutions, LLC, 17-cv-80619 WPD (S.D. Fla. TRO
11      entered 5/15/17)...................................................................................................... 1
12 FTC v. Think Achievement Corp., 144 F. Supp. 2d 993(N.D. Ind. 2000).............. 26
13 FTC v. Thompson Medical Co., 104 F.T.C. 648(1984)......................................... 22
14 FTC v. Thomsen-King & Co., 109 F.2d 516 (7th Cir. 1940).................................. 25
15 FTC v. U.S. Oil &Gas Corp., 748 F.2d 1431 (11th Cir. 1984)........................ 19, 33
16 FTC v. Warner Commc'ns, Inc., 742 F.2d 1156 (9th Cir. 1984)...................... 20, 24
17 FTC v. Wealth Educations, Inc., CVC12-02357 SJO(JEMx)(C.D. Ca. Apr. 6,
18     2015)..................................................................................................................... 30
19 FTC v. World Wide Factors, Ltd., 882 F.2d 344 (9th Cir. 1989)....................passim
20 FTC v. Wyndham Worldwide Corp., 2014 WL 2812049(D. N.J. June 23, 2014).26
21    Granny Goose Foods, Inc. v. Teamsters, 415 U.S. 423(1974).............................. 35
22 Heideman v. Salt Lake City, 348 F.3d 1182(10th Cir. 2003).................................21
23 In re Cliffdale Assocs., Inc., 103 F.T.C. 110(1984)............................................... 21
24 Johnson v. Couturier, 572 F.3d 1067(9th Cir. 2009)............................................. 30
25 Nat'l Soc'y ofProf'l Eng'rs v. United States, 435 U.S. 679(1978)....................... 2
26 Porter v. Warner Holding Co., 328 U.S. 395,66 S. Ct. 1086(1946)..................... 3
27 Reno Air Racing Ass'n, Inc. v. McCord,452 F.3d 1126 (9th Cir. 2006)................ 3
28 Resort CarRental Sys., Inc. v. FTC, 518 F.2d 962(9th Cir. 1975).................... 22, 2
                                                                                                      Federal Trade Commissio
      MEMORANDUM OF POINTS AND AUTHORITIES                                                               915 2"d Ave., Ste. 289
      IN SUPPORT OF TRO -iii                                                                          Seattle, Washington 9817
                                                                                                                 (206)220-635
  Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 7 of 39 Page ID #:3589



 1   SEC v. First Fin. Grp. ofTexas, 645 F.2d 429(5th Cir. 1981).............................. 3
 2 SEC v. Keller Corp., 323 F.2d 397 (7th Cir. 1963)................................................. 3
 3 SEC v. Manor Nursing Ctrs., Inc., 458 F.2d 1082(2d Cir. 1972).................... 30, 3
 4 SEC v. R.J. Allen &Associates, Inc., 386 F. Supp. 866(S.D. Fla. Nov. 29, 1974)3
 5 Sunshine Art Studios, Inc. v. FTC,481 F.2d 1171 (1st Cir. 1973)......................... 2
 6    United States v. Diapulse Corp. ofAm.,457 F.2d 25 (2d Cir. 1972)..................... 2
 7    United States v. Ellis Research Laboratories, Inc., 300 F.2d 550(7th Cir. 1962).2
 8    United States v. Laerdal Mfg. Corp., 73 F.3d 852(9th Cir. 1995).........................1~
 9 Statutes
10 Federal Trade Commission Act, 15 U.S.C. § 45....................................................... 3
11   Federal Trade Commission Act, 15 U.S.C. § 53.....................................................18
12
     Rules
13
     16 C.F.R. § 310.3~a)~2)~vii),(x)..............................................................................2
14
     16 C.F.R. § 310.4~a)CS)~i)........................................................................................2
15
     16 C.F.R. ¶310.2(0) ................................................................................................       L
16
     16 C.F.R. Part 310 .....................................................................................................
17
     Fed. R. Civ. P. 26(d), 30(a)(2), 33(a), and 34(b).................................................... 31
18
     Fed.. R. Civ. P. 65(b)................................................................................................ 31
19
     L.R. 7-19.2...............................................................................................................31
20
21
22
23
24
25
26
27
28
                                                                                                    Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHORITIES                                                              915 2"d Ave., Ste. 2896
     IN SUPPORT OF TRO - iv                                                                         Seattle, Washington 98174
                                                                                                               (206)220-6350
  Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 8 of 39 Page ID #:3590



 1     I. INTRODUCTION
 2         The Federal Trade Commission asks this Court to halt Defendants'
 3   deceptive nationwide student loan debt relief operation. Exploiting widespread
 4 consumer anxiety about student loan debt, Defendants deceive consumers into
 5   paying them as much as $1000 dollars to enroll in programs Defendants claim will
 6   provide consumers with much-needed debt relief, with the emphasis on loan
 7 forgiveness and loan discharge. In this way, Defendants have defrauded
 8 financially-strapped consumers out of at least $20 million since mid-2015.
 9         Student loan debt is the second largest class of consumer debt, with 42
10   million Americans collectively owing nearly $1.3 trillion.' Unfortunately, this
11   increase in student loan debt has been accompanied by a dramatic increase in debt
12 relief schemes that take advantage of consumers struggling to pay their student
13   loan debts. Following the same model as deceptive mortgage or credit card debt
14 relief operations, which proliferated during the economic downturn, student loan
15   debt relief scams capitalize on consumers' financial distress and involve similar
16   misrepresentations and illegal advance fees. The FTC has brought a series of cases
17   against operations like the one run by Defendants, but the problem persists.2
18         For many consumers, their student loan debt struggles have been made
19   worse because of unlawful recruiting and lending practices by certain for-profit
20 colleges. Several recent high profile lawsuits against these colleges have
21   highlighted this issue.3 Defendants specifically target alumni of for-profit colleges,
22
23   ~ PX 1 ¶ 24 at 40-41; Att. S at 105-08.
     2 FTC v. Good EBusiness, LLC, et al., CV 16-1048 ODW (JPI~)(C.D. CaL Final
24   Order entered 7/12/16); FTC and State ofFlorida v. Consumer Assistance, LLC, 16-
25   cv-21528 FAM (S.D. Fla. Final Order 1/12/17); FTC and State ofFlorida v. Student
     Aid Center, Inc., 16-cv-21843 FAM (S.D. Fla. Final Order entered 8/31/17); FTC v.
26   Strategic Student Solutions, LLC, 17-cv-80619 WPD (S.D. Fla. TRO entered 5/15/17)
27   3 See, e.g., FTC v. Devey Education Group, Inc., CV 16-00579 MWF-SS(C.D.
     Cal. Dec. 15, 2016).
28
                                                                       Federal Trade Commissio
     MEMORANDUM OF POINTS AND AUTHORITIES                                 915 2nd Ave., Ste. 289
     IN SUPPORT OF TRO - 1                                             Seattle, Washington 9817
                                                                                  (206)220-635
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 9 of 39 Page ID #:3591



 1   promising to enroll them in a program that will eliminate or reduce their student
 2 ~ ~ loan burden. However, the only programs available to federal student loan
 3   borrowers to help them manage their indebtedness are offered free of charge
 4 through the Department of Education ("ED"). Consumers can only enroll in ED
 5   programs through their loan servicers or the ED. Moreover, the programs
 6 Defendants describe to consumers often do not correspond to any ED program or
 7 are not available to consumers through the ED on the terms Defendants describe.
 8   Defendants misrepresent the programs into which they are offering to enroll
 9 consumers to trick them into paying exorbitant fees for their service, which
10   involves, if actually performed, nothing more than completing application forms to
11   enroll consumers in ED programs that are freely accessible online.
12         Along with this Memorandum,the FTC submits overwhelming evidence of
13   Defendants' deceptive practices. This evidence includes, among other things:
14   transcripts of five undercover calls by government investigators that capture
15   numerous misrepresentations by Defendants; declarations from 29 consumers
16   victimized by Defendants; a declaration from an authorized federal student loan
17   servicer that has received hundreds of complaints about Defendants; and a
18   summary of 245 consumer complaints received by the BBB or a government
19 ', agency.
20         Defendants' practices violate Section 5 ofthe Federal Trade Commission
21   Act("FTC Act"), 15 U.S.C. § 45, which prohibits deceptive trade practices, and
22 the Telemarketing Sales Rule ("TSR"), 16 C.F.R. Part 310, which prohibits taking
23   advance fees for and the deceptive marketing of student debt relief services. To
24   protect consumers from additional harm and preserve the Court's ability to provide
25   effective final relief, the FTC seeks an ex parte temporary restraining order
26 ("TRO")to immediately halt Defendants' deceptive practices, preserve
27 Defendants' assets, and appoint a temporary receiver.                                         'I
28
                                                                      Federal Trade Commissi
     MEMORANDUM OF POINTS AND AUTHORITIES                                915 2"d Ave., Ste. 28
     IN SUPPORT OF TRO - 2                                            Seattle, Washington 981
                                                                                 (206)220-63
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 10 of 39 Page ID #:3592



 1     II. DEFENDANTS
 ►a         There are nine Corporate Defendants, six Individual Defendants, and two
 3    Relief Defendants. The Corporate Defendants operate as a common enterprise.4
 4          A.     Corporate Defendants
 5          Alliance Document Preparation, LLC ("Alliance"), is a California limited
 6 liability company created in Apri12015. 5 Alliance has done business as EZ Doc
 7 Preps, First Document Aid, and Grads Aid. 6 Alliance has used multiple Los
 8    Angeles addresses, including 9060 and 9056 Santa Monica Blvd., and has its
 9    phone room and offices located at 1435 S. La Cienega Blvd., Los Angeles.$
10          First Student Aid, LLC ("FSA"), is a California limited liability company
11    created on August 14, 2015.9 FSA does business under its own name and has
12    typically done business in conjunction with EZ Doc Preps.10 FSA has used the Loy
13    Angeles address at 9056 Santa Monica Blvd,ll and has its telephone sales
14    operation at the 1435 S. La Cienega Blvd. location.12
15          SBB Holdings, LLC ("SBB"), is a California limited liability company
16    created on November 23, 2015.13 SBB has done business as Post Grad Services,
17    Allied Doc Prep, and EZ Doc Preps.14 SBB has used the Los Angeles addresses
18
19
20    4 See, Section III.C, infra.
      5 PX1 ¶ 7.a at 34, Att. C at 56.
21
      6 Id. ¶¶ 5-6 at 33-34, Atts. A-B at 54-55; PX 26 ¶ 3 at 837, Att. A at 840.
22    ~ Id. ¶ 6.c at 34, Att. B at 55; ¶ 46 at 47, Att. FF at 272.
23    8 Id. ¶ 34 at 43, Att. W at 138-140.
      9 Id. ¶8.aat35,Att.Dat57.
24    t o See, e.g.,PX22¶2at783,¶4at784,Att.Aat788.
25    " Id. ¶8.cat35,Att.Dat57.
      12 Id. ¶¶ 33-34 at 43, Att. W at 138-40.
26    13 Id ¶ 14.a at 37, Att. J at 66.
27    14 Id. ¶ 13.e at 37, Att.Iat 65; ¶¶ 35-36 at 43, Att. W at 138-40; ¶ 38.a at 44, Att. X
      at 144.
28
                                                                         Federal Trade Commission
      MEMORANDUM OF POINTS AND AUTHORITIES                                  915 2nd AVC., Ste. 2896
      IN SUPPORT OF TRO - 3                                              Seattle, Washington 98174
                                                                                    (206)220-6350
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 11 of 39 Page ID #:3593



 1   9056 Santa Monica Blvd., and P.O. Boxes 691004 and 351054.15 SBB maintains
 2 its offices and sales operation at 1435 S. La Cienega Blvd.16
 3         United Legal Center, LLC("ULC"), is a Nevada limited liability
 4 corporation created on August 21, 2015,17 and has done business as Post Grad Aid,
 5   Alumni Aid Assistance, and United Legal Discharge.lg United Legal Center,Inc.
 6 ("ULC,Inc."), a California corporation created on February 8, 2017, succeeded
 7 ULC and lists its address as 153 S. Palm Dr., Suite 1, Beverly Hills.19 Consumer
 8 complaints have associated the Los Angeles addresses 1999 Ave. of the Stars
 9 #1100 and 8564 W.Pico with Alumni Aid Assistance.20 ULC and ULC,Inc. have
                                                                             21
10 their offices and telephone sales room located at 1435 S. La Cienega Blvd.
11         Elite Cor►sulting Services, LLC ("ECS"), is a California limited liability
12 company created on November 17, 2015, as First Grad Aid, LLC.22 On January 17,
13   2017, First Grad Aid's name was changed to ECS, which continues to do business
14 under the name First Grad Aid.23 ECS/FGA has used the address 1875 Century
15 Park E. Ste., 700, Los Angeles, and operates from the phone room at 1435 S. La
                  24
16 Cienega Blvd.
17         Elite Doc Prep, LLC ("Elite"), is a California limited liability company
                                                                                  26
18   created on December 15, 2015,25 and has done business as Premier Student Aid.
19
20   's Id. ¶ 13.c at 37, Att.I at 64.
     16 Id. ¶¶ 32-36 at 43, Att. W at 138-40; ¶ 60.a at 52.
21
     " Id. ¶ 9.a at 35, Att. E at 59.
22   'g Id. ¶ 33 at 43, Att. W at 138-40; ¶41.e at 46, Att. AA at 254.
23   '9 Id. ¶ 18 at 3 8, Att. N at 70.
     20 Id. ¶ 60.b and c at 52.
24   21 Id. ¶34 at 43,Att. Wat 138-40;¶41.dat 45,Att.AAat252;¶60.aat52.
     2Z Id. ¶ 12.a at 36, Att. H at 63.
25   23 Id. ¶ 17.a at 3 8, Att. M at 69.
26   24 Id. ¶ 19.c at 39, Att. O at 71; ¶¶ 33-34 at 43, Att. W at 138-40.
     25 Id. ¶ 15.a at 37, Att. K at 67.
27
     26 Id. ¶ 33 at 43, Att. W at 138-40; ¶ 60.a at 52.
28
                                                                    Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHORITIES                              915 2°d Ave., Ste. 289E
     IN SUPPORT OF TRO - 4                                          Seattle, Washington 98174
                                                                               (206)220-635C
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 12 of 39 Page ID #:3594



 1   Elite has listed its address as 125 La Peer Dr., 9060 Santa Monica Blvd, and it also
 2 uses the phone room located at 1435 S. La Cienega Blvd.27
 3          Grads Doc Prep,LLC("GDP"), is a California limited liability company
 4   created on August 31, 2016.28 GDP has done business as Academic Aid Center,
 5   Academy Doc Prep, and Academic Discharge.29 GDP has listed its address as
 6 ~', ~ 1467 S. Holt Ave. #5, 8564 W.Pico Blvd., and 1999 Ave. of the Stars #1100, all i
 7 Los Angeles.30 The phone numbers associated with the dbas GDP used, however,
                                                                    31
 8 belong to the telephone account in the name of defendant Gabbaie.
 9          SBS Capital Group,Inc.("SBS"), is a California corporation created on
10   March 20, 2017, and lists its address as 1575 Westwood Blvd., Suite 303, Los
11   Angeles.32 This is also an address associated with the name "Grads United
12 Discharge" in consumer complaints.33 The telephone numbers associated with
13   Grads United Discharge belong to the telephone account in the name of Shawn
             34
14   Gabbaie.
15          B.    Individual Defendants
16          Benjamin Naderi("Naderi") is the sole owner of Alliance, Direct, SBS,
17   and Capital, and co-owner of FSA and SBB.35 Naderi is responsible for the
18   telephone account Defendants use to market their services under the names EZ
19
20
     27 Id. ¶ 15.c at 37, Att. K at 67; ¶¶ 33-34 at 43, Att. W at 138-40; ¶ 60.a at 52.
21
     28 Id. ¶ 16.a at 38, Att. L at 68.
22   29 Id. ¶ 33 at 43, Att. W at 138-40; ¶ 60.a at 52.
     3o Id. ¶ 16.c at 38, Att. L at 68; ¶ 60.a at 52.
23
     31 Id. ¶ 36 at 43.
24   32 Id. ¶ 20 at 39, Att. P at 72.
     33 Id. ¶ 31.a at 42, Att. V at 133.
25
     34 Id. ¶ 36 at 43.
26   3s Id. ¶ 7 at 34, Att. C at 56-57(in name of Benjamin Pournaderi); ¶ 10 at 35, Att. F at
27   61; ¶ 20 at 39, Att. P at 72-73; ¶ 21 at 39, Att. Q at 74-75; ¶ 8 at 35, Att. D at 58;
     ¶ 14 at 37,Att.Jat66;¶38 at 44;Att.Xat 163.
28
                                                                        Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHORITIES                                  915 2"d Ave., Ste. 289E
     IN SUPPORT OF TRO - 5                                              Seattle, Washington 9817
                                                                                   (206)220-635(
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 13 of 39 Page ID #:3595



 1   Doc Preps, Grads Aid, First Document Aid, First Student Aid, United Legal
 2   Center, Post Grad Aid, Alumni Aid Assistance, United Legal Discharge, Academic
 3   Aid Center, Academy Doc Preps, Academic Discharge, First Grad Aid, Elite Doc
 4 Prep, and Premier Student Aid.36 Naderi registered the Internet domain names
 5   ezdocpreps.com, gradsaid.com, firstdocumentaid.com, firststudentaid.com, and
 6   capitaldocprep.com, and he is the signatory on merchant and depository bank
 7   accounts in the names of Alliance, EZ Doc Preps, Capital, and Direct.37
 8         Shawn Gabbaie ("Gabbaie") co-owns SBB and FSA with Naderi.38
 9   Gabbaie is responsible for the telephone account Defendants use to market their
10   services under the names Allied Doc Prep, Post Grad Services, and Grads United
11   Discharge.39 Gabbaie registered the Internet domain names allieddocprep.com,
12   and postgradservices.com,40 and is the signatory on merchant and depository bank
13   accounts in the name of SBB Holdings, including a merchant account in the name
                      41
14   ofEZ Doc Preps.
15         Avinadav Rubeni("Rubeni") owns LTLC and ULC,Inc.42 Rubeni is also
16   responsible, along with Naderi, for the telephone account Defendants used to
17   market their services and he is the signatory on merchant and bank accounts in the
                                    43
18   name of United Legal Center,
19
20
21   36
        Id. ¶ 33 at 43, Att. W at 138-40.
22   37 Id. ¶ 22.d at 40, Att. R at 84-85; ¶ 39 at 45, Att. Y at 183; ¶ 42 at 46, Att. BB at
23   258; ¶ 44 at 47, Att. DD at 266-68; ¶ 45 at 47, Att. EE at 269-70.
     38 Id. ¶8at35;¶ 14 at 37,Att.Jat66;¶38 at 44;Att.Xat 163.
24   39 Id. ¶¶ 35-36 at 43, Att. W at 138-40.
     4o
25      Id ¶ 22 c at 40, Att. R at 80-83 (registered as Shawn Goodman).
     41 Id. ¶ 38 at 44, Att. X at 144; ¶ 43 at 46, Att. CC at 263-64.
26   42
        Id. ¶ 9.b at 35, Att. E at 59-60; ¶ 18.b at 38, Att. N at 70.
     a3
27      Id. ¶¶ 32-34 at 43, Att. W at 138-40; ¶ 41 at 45, Att. AA245-56; ¶¶ 55-59 at 51-
     52, Atts. 00-SS at 344-52.
28
                                                                         Federal Trade Commissi
     MEMORANDUM OF POINTS AND AUTHORITIES                                   9]5 2°d Ave., Ste. 28
     IN SUPPORT OF TRO - 6                                               Seattle, Washington 981
                                                                                    (206)220-63
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 14 of 39 Page ID #:3596



 1         Ramiar Reuveni("Reuveni")owns GDP.44 Reuveni pays for the domain
 2 name registrations for academicaidcenter.com, academicprotection.com,
 3   academicdischarge.com, alumniaidassociation.org, unitedlegalcenter.com,
 4   unitedlegaldischarge.com, and gradsuniteddischarge.com, and is a signatory to
                                       as
 5   bank accounts in the name of GDP.
 6         Farzan Azinkhan ("Azinkhan") owns Elite.46 Azinkhan is the domain
 7 registrant for elitedocprep.com and premierstudentaid.com.47
 8         Michael Ratliff("Ratliff')owns ECS formerly known as FGA.48 Ratliff is
 9 the domain registrant for eliteconsultingservice.com and firstgradaid.com and is a
                                          a9
10 signatory to the bank account for ECS.
11         C.     Relief Defendants
12         Direct Consulting Services, LLC ("Direct"), is a California limited
13   liability company created on September 29, 2015, and uses the address 9056 Santa
14   Monica Blvd., in Los Angeles.50 Capital Doc Prep, Inc.("CDP"), is a California
15   corporation created on March 20, 2017, and lists it address as 369 S. Doheny Rd.,
16 #1124, Beverly Hi11s.5 ~ Naderi owns both companies.52 Bank accounts for both
17 companies reflect payments received from one or more of the Corporate
18
19
20
21 as
      Id ¶ 16 at 38, Att. L at 68.
   a5
22    Id. ¶ 23 at 40; ¶ 54 at 50-51, Att. NN at 342-43.
   46 Id. ¶ 15 at 37, Att. K at 67.
23
   47 Id. ¶ 22.b at 40, Att. R at 76-79. Plaintiff was not able to obtain banking records
24 for Elite, but Elite did maintain a bank account. PX37 ¶¶ 10, 15, 17 at 1379-80.
25 48 PX1 ¶ 12 at 36,Att.Hat63;¶ 17 at 38,Att.Mat69.
   49 Id. ¶ 22.a at 39, Att. R at 93-94; ¶ 53 at 50, Att. MM at 323-37.
26 so ld. ¶ 10 at 35,Att.Fat61.
   s Id. ¶ 21 at 39, Att. Q at 74-75.
27 '
   52 Id. ¶ 10 at 35, Att. F at 61; ¶ 21 at 39, Att. Q at 74-75.
28
                                                                     Federal Trade Commissi
     MEMORANDUM OF POINTS AND AUTHORITIES                               915 2"d Ave., Ste. 28
     IN SUPPORT OF TRO - 7                                           Seattle, Washington 981
                                                                                (206)220-63
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 15 of 39 Page ID #:3597



 1   Defendants that are traceable to Defendants' deceptive practices53 and to which the
 2 Relief Defendants have no legitimate claim.
 3   III. DEFENDANTS'DECEPTIVE BUSINESS PRACTICES
 4         A.     Federal Student Loan Programs
 5         To address the high level of distressed student loan debt, the ED administers
 6   a limited number of student loan forgiveness and discharge programs.54 All of the
 7   programs have strict eligibility requirements that limit their availability to the
 8   majority of borrowers. For example, the Public Service Loan Forgiveness
 9 ("PSLF")program applies only to employees of governmental units or non-profit
10 organizations and provides loan forgiveness after 10 years oftimely monthly
11   payments.55 Another program, the Borrower Defense to Repayment("BDR")
12 program, may provide loan discharge to some students who attended colleges that
13 violated the law with respect to their student loan programs. The ED, however,
14   not yet adopted regulations establishing criteria for processing or evaluating BDR
15   applications.56 As a result, it is very difficult even for experts in the area to know
16   who qualifies for BDR.57 The ED also offers income-driven repayment("IDR")
17   programs, which are designed to provide affordable payments for low-income
18   borrowers.58 Under the IDR programs, if a borrower's income remains low
19 throughout the loan term, it is possible that the unpaid balance of the loan will be
20 forgiven after 20 or 25 years, but the forgiven amount will likely be imputed as
21
22 s3 pX37 ¶¶ 12, 14, 17 at 1380.
   s4 PX31 ¶¶ 4-7 at 916-18. The ED loan discharge programs offer complete
23
   elimination of indebtedness if the borrower meets certain criteria. The ED loan
24 forgiveness programs eliminate a portion of the debt after the borrower makes
25 payments for some time period.
   ss ld ¶~at918.
26 s6
      Id. ¶¶ 4-5 at 916-17.
27 57 Id. ¶ 4 at 916.
   5g Id. ¶ 8 at 918-19.
28
                                                                        Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHORITIES                                  915 2°d Ave., Ste. 289E
     IN SUPPORT OF TRO - 8                                              Seattle, Washington 98174
                                                                                   (206)220-635(
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 16 of 39 Page ID #:3598



 1   income to the borrower for tax purposes.59 For most, however,IDR is not a
 2 forgiveness program and no one has yet received loan forgiveness under any of the
 3 IDR programs.60 Federal student loan borrowers can apply for any forgiveness or
                                                                                    61
 4 repayment plan available to them through their student loan servicers at no cost.
 5   Application to these programs does not require the assistance of a third-party
                                                      6Z
 6   company to enroll or payment of application fees.
 7              B.    Defendants' False and Unsubstantiated Student Loan Debt Relief
 8                    Representations

 9              Defendants make false and deceptive claims to consumers that: 1)they are
10 part of, affiliated with, or work directly with the government, government loan
11   programs, the ED, or consumers' loan servicers; 2)consumers who purchase
12 Defendants' debt relief services generally will have their monthly payments
13   reduced or their loan balances forgiven in whole or in part; and 3)consumers are
14   qualified for, or are approved to receive, loan forgiveness or other programs that
15   will permanently lower or eliminate their loan payments or balances. Defendants
16   market their services via email, telephone, and social media platforms such as
17 Facebook, targeting former students of for-profit colleges sued by class action
18 litigants or government agencies, such as University ofPhoenix, DeVry
                                                63
19 University, ITT Tech, and the Art Institutes.
20              A typical Facebook advertisement states:
21                    Art Institutes Loan Forgiveness.
22                    Call(844)478-8487 to see if you qualify
23
24   s9 Id.
     6o Id.
25
     6l Id. ¶ 3 at 915-16.
26   62
          Id.
27 63 All but one of the consumers whose declarations are attached as PX 2 through
   PX30 to this Memorandum attended for-profit colleges.
28
                                                                       Federal Trade Commissiot
     MEMORANDUM OF POINTS AND AUTHORITIES                                 915 2°d Ave., Ste. 289E
     IN SUPPORT OF TRO - 9                                             Seattle, Washington 9817
                                                                                  (206)220-635(
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 17 of 39 Page ID #:3599



 1                for loan forgiveness due to the recent
                                                     64
 2                lawsuit against The Art Institutes.
 3         One consumer recently received an email from Defendants stating:
 4                My name is Eyal Cohen and I am the Federal
 5                Student Loan Discharge Specialist here at United
 6               Legal Discharge. We are an organization....here to
 7                assist and service as many students as possible
 8               regarding discharging their federal student loans. Chances
 9                are the reason you are receiving this email is because
10                you have attended a for profit institution....that [has]
11                been guilty for certain malpractices and [has]
12               consistently preyed on students....you can
13                potentially be eligible to file for a Cause of Action
14               Grievance Discharge....[C]ontact me as soon as
15               possible to check your eligibility and for us
16               to review your case in detail in determining
                                                           65
17               if we could provide this service to you,
18         When consumers call to inquire about the advertised loan forgiveness or
19 discharge, Defendants tell consumers that they are eligible for or have been
20 qualified or approved for loan forgiveness, discharge, or other debt relief.66 As
21
22 64 PX15 ¶ 3 at 675, Att. A at 679; see, also, PX8 Att. D at 551-55; PX29 ¶ 3 at 891,
23 Att. A at 895.
   6s pX4.1 ¶ 2 at 431, Att. A at 434-35.
24 66 PX2 ¶ 5 at 369; PX3 ¶ 5 at 384; PX 4 ¶ 2 at 402; PXS ¶¶ 4-5 at 445;PX 6 ¶ 4 at
25 470; PX8 ¶ 3 at 524; PX9 ¶¶ 3-4 at 556-57; PX10 ¶ 2 at 572; PX11 ¶ 3 at 590; PX12 ¶
   3 at 622; PX14 ¶ 3 at 662; PX15 ¶ 3 at 675; PX 16 ¶ 3 at 691;PX 17 ¶ 4 at 710-11;
26
   PX19 ¶ 3 at 730; PX20 ¶ 3 at 753; PX21 ¶ 3 at 761; PX22 ¶ 3 at 783-84; PX23 ¶¶ 3-4
27 at 799-800; PX24 ¶ 3 at 813-14; PX25 ¶ 3 at 823-24; PX26 ¶ 3 at 837-38; PX27 ¶ 3 at
   858-59; PX28 ¶ 4 at 876-77; PX29 ¶ 4 at 891-92; see, also, PX32 lns. 12-16 at 1259,
28
                                                                          Federal Trade Commissior
     MEMORANDUM OF POINTS AND AUTHORITIES                                    915 2°d Ave., Ste. 289E
     IN SUPPORT OF TRO - 10                                               Seattle, Washington 9817
                                                                                     (206)220-635(
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 18 of 39 Page ID #:3600



     evidenced by the above-quoted email, Defendants often state that "we" provide
 2 this service or program, or state or imply that they provide the promised debt
 3   relie£67 Testimony from 29 consumers, corroborated by 249 consumer complaints
 4 filed with the FTC,68 113 consumer complaints obtained from an authorized ED
 5   loan servicer,69 and five recorded undercover sales calls,70 consistently show that
 6 Defendants tell consumers that they will enroll consumers in programs providing
 7 one or more of the following:
 8         • loan forgiveness;"
 9         • loan discharge;'Z
10
11
     lns. 2-4 at 1263; PX33 lns. 8-18 at 1273, lns. 23-11 at 1276-77; PX34 lns. 13-14 at
12   1311; PX35 lns. 3-6 at 1344; PX361ns. 4-3 at 1364-65.
     67 PX2 ¶ 4 at 369;PX3 ¶ 5 at 384; PX 4 ¶ 4 at 403; PX7 ¶ 7 at 488;PX8 ¶¶ 3-4 at 524-
13
     25;PX10 ¶¶ 2-3 at 572-73; PX11 ¶ 3 at 590-91; PX12 ¶ 3 at 622; PX14 ¶ 3 at 662;
14   PX15 ¶ 3 at 675;PX 17 ¶ 4 at 709-10; PX18 ¶¶ 4-5 at 716-17; PX20 ¶ 3 at 753; PX22
     ¶¶ 2-3 at 783-84; PX23 ¶ 3 at 799;PX24 ¶¶ 2-3 at 813; PX25 ¶ 3 at 823-24; PX26 ¶ 3
15
     at 837; PX27 ¶ 4 at 859;PX28 ¶ 3 at 876; PX29 ¶ 5 at 892; see, also, PX32 lns. 5-6 at
16   1252, lns. 2-4 at 1263; PX33 lns. 1-17 at 1288; PX34 lns. 6-14 at 1314, lns .l-4 at
17   1320; PX35 lns. 25-20 at 1339-40; PX36 lns. 9-13 at 1360.
     68 PX1 ¶ 31 at 42, Att. U at 111-29.
18   69 pX31 ¶¶ 21-23 at 931-32, Att. A at 935-1247.
19   70 Transcripts of recorded undercover calls are attached as PX 32-36 at 1248-1376.
     See, also, PX 31 ¶¶ 13-20 at 920-31 (Defendants also made numerous false statements
20   in the sales calls in addition to those alleged in the FTC complaint. For example, one
21   sales representative admitted, when asked, that the caller could prepare the forms for
     himself, but lied about the difficulty of the paperwork and the problems that the caller
22   would face if he applied on his own. See PX32 lns. 17-25 at 1261-62.
23   ~I PX2 ¶¶ 3-4 at 368-69; PX3 ¶ 5 at 384;PX4 ¶ 2 at 402; PXS ¶ 5 at 445;PX6 ¶ 4 at
     470; PX7 ¶ 8 at 488;PX8 ¶ 3 at 524-25; PX9 ¶¶ 3-4 at 556-57; PX10 ¶ 3 at 572;
24   PX11 ¶ 3 at 590-91;PX12 ¶ 7 at 624; PX13 ¶ 4 at 644;PX14 ¶ 3 at 662; PX15 ¶ 3 at
25   675-76; PX16 ¶ 3 at 691;PX17 ¶ 4 at 709-10; PX18 ¶ 4 at 716-17; PX19 ¶ 3 at 730-
     31; PX21 ¶ 3 at 761-62; PX22 ¶ 3 at 783-84; PX23 ¶ 3 at 799; PX24 ¶ 3 at 813-14;
26
     PX25 ¶ 3 at 823-24; PX26 ¶ 4 at 838; PX27 ¶ 4 at 859; PX28 ¶¶ 4-5 at 876-77; PX30
27   ¶ 3 at 913-14; see, also, PX321ns. 5-6 at 1252;PX341ns. 10-12 at 1321; PX 35 lns. 8-
     20 at 1337; PX361ns. 1-19 at 1365.
28
                                                                        Federal Trade Commissio
     MEMORANDUM OF POINTS AND AUTHORITIES                                  915 2°d Ave., Ste. 289
     IN SUPPORT OF TRO - 11                                             Seattle, Washington 9817
                                                                                   (206)220-635
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 19 of 39 Page ID #:3601



              reduced, often permanently reduced, monthly payments;73 and
 2            reduced or eliminated interest.74
 3         In some instances, to persuade consumers to pay an enrollment fee of$400
 4 to $1000, Defendants' claim to work directly with the ED,or that the ED or the
 5   government has certified them or authorized them to provide their services.~s
 6         Once consumers agree to sign up for Defendants' services and have
 7 provided credit or debit card information, Defendants then email consumers
 8   several pages of documents, the first page of which is misleadingly headed "New
 9   Account Application," and which includes a binding contract.76 Consumers are
10 required to e-sign the documents while consumers are still on the phone.' The
11
12 72 PX4.1 Atts. A-B at 432-443;PX7 Att. D at 519-21; PX12 ¶¶ 7-9 at 624-25, Att. C
   at 637-40; PX21 ¶ 11 at 765.
13
   73 PX2 ¶¶ 3-4 at 368-69; PX4 ¶ 2 at 402; PXS ¶ 5 at 445;PX6 ¶ 5 at 470; PX8 ¶ 3 at
14 524; PX10 ¶ 3 at 572-73; PX11 ¶ 3 at 590-91; PX12 ¶ 3 at 622;PX14 ¶ 3 at 662;
                 691; PX17 ¶ 4 at 709-10; PX18 ¶ 4 at 716-17; PX19 ¶ 3 at 730-31; PX21
15 PX16 ¶ 3 at
   ¶ 3 at 761-62; PX26 ¶ 4 at 838; PX28 ¶ 4 at 876-77; PX29 ¶ 5 at 892; PX30 ¶ 3 at
16 913-14; see, also, PX33 lns. 1-13 at 1288; PX341ns. 5-4 at 1315-16; PX35 lns. 8-20
17 at 1337; PX36 lns. 11-21 at 1374.
   74 PX2 ¶ 3 at 368; PX4 ¶ 2 at 402; PX6 ¶ 5 at 470; PX7 ¶ 4 at 487; PX11 ¶ 3 at 590-
18 91; PX14 ¶ 3 at 662; PX16 ¶ 3 at 691; PX18 ¶ 4 at 716-17; PX321ns. 2-8 at 1262;
19 PX341ns 8-13 at 1317; PX 35 lns. 10-17 at 1340; p. 18 ,lns. 17-18 at 1346; lns. 21-25
   at 1350.
20 75 PX7¶4at487;PX9¶3at556-57;PX13¶4at644;PX18¶5 at 717;PX19¶3 at
21 730-31; PX20 ¶ 3 at 753; PX25 ¶ 3 at 823-24; PX26 ¶ 3 at 837-38; PX28 ¶ 3 at 876;
   PX29 ¶ 4 at 892; see, also, PX32 lns. 11-14 at 1254, lns. 6-12 at 1255, lns. 9-11 at
22 1264; PX341ns. 1-8 at 1319; PX36 lns. 20-5 at 1364-65.
23 76 See, e.g., PX 2, Att. A at 373-82.
   ~ PX2 ¶ 6 at 369-70; PX3 ¶ 7 at 385; PX4 ¶ 3 at 402-03; PXS ¶ 6 at 445-46;PX6 ¶ 7
   '
24 at 471(signed on mobile phone); PX7 ¶ 4 at 487; PX8 ¶ 4 at 525; PX9 ¶ 6 at 558;
25 PX10¶4at573;PX11 ¶4at591;PX12¶4 at623;PX13¶4at644;PX14¶oat
   662-63; PX15 ¶ 4 at 676;PX16 ¶ 4 at 692; PX17 ¶ 5 at 710; PX18 ¶ 6 at 717-18;
26
   PX19 ¶ 6 at 731-32(signed on mobile phone); PX21 ¶ 7 at 763 (signed on mobile
27 phone); PX22 ¶ 4 at 784; PX23 ¶ 6 at 800; PX24 ¶ 3 at 813-14; PX26 ¶ 3 at 837-38;
   PX27 ¶ 5 at 859; PX28 ¶ 5 at 877; PX29 ¶ 6 at 892; PX30 ¶ 3 at 913.
28
                                                                     Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHORITIES                               915 2°d Ave., Ste. 2891
     IN SUPPORT OF TRO - 12                                          Seattle, Washington 9817
                                                                                (206)220-6351
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 20 of 39 Page ID #:3602



 1   first page of the documents is headed "New Account Application." Often
 2 Defendants obtain consumers' signatures under false pretenses, telling them that
 3   the documents are only authorization for payment of the fee, or authorization for
 4 them to act on behalf of consumers with their lenders.~g Defendants also distract
 5   rush consumers during the signing process and, in some cases, claim that the
 6 government funding or lawsuit settlement funds will not be available to consumers
 7 if they do not agree to enroll immediately.79
 8         Defendants often state or imply that the documents reflect what the sales
 9 representative told consumers over the telephone,80 when, in fact, they do not. The
10 contracts contain provisions that contradict what Defendants tell consumers in the
11   sales calls and attempt to limit Defendants' obligations to merely completing
12 for ED programs on the consumer's behalf.$' In other words, Defendants tell
13   consumers one thing during the sales call, and then pressure them to sign without
14 reading a document that states something completely different. As discussed
15   below, these belated and contradictory statements do not cure the oral
16
17
18
19
20
21
     ~g PX4¶3at403;PX10¶4at573;PX15¶4at676;PX16¶4 at692;PX17¶Sat
22   710.
23   79 PX2 ¶ 6 at 369-70; PX4 ¶ 3 at 402-02; PXS ¶ 6 at 445-46; PX8 ¶ 4 at 525;PX9 ¶ 6
     at558;PX11 ¶4at591;PX12¶4at623;PX13¶4at644;PX14¶4at662-63;PX15
24   ¶4 at 676;PX16¶4 at692;PX17¶5 at710;PX18¶6at717-18;PX19¶6at731-
25   32; PX23 ¶ 6 at 800; PX24 ¶ 3 at 813-14; PX26 ¶ 3 at 837-38; PX28 ¶ 5 at 877; PX29
     ¶ 6 at 892.
26
     80 PX3 ¶ 7 at 385; PX6 ¶ 7 at 471; PX7 ¶ 4 at 487;PX9 ¶ 6 558; PX14 ¶ 4 at 662-63;
27   PX25 ¶ 5 at 824-25; PX27 ¶ 5 at 859; PX29 ¶ 6 at 892.
     g See, e.g., PX2 Att. A at 379.
     '
28
                                                                     Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHORITIES                               915 2"a Ave., Ste. 289E
     IN SUPPORT OF TRO - 13                                          Seattle, Washington 98174
                                                                                (206)220-635C
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 21 of 39 Page ID #:3603



 1   misrepresentations Defendants made just moments before.82 Defendants later use
 2 the contracts to deny consumer refunds.83
 3         Defendants' claims that they will enroll consumers in programs that will
 4   provide the promised debt relief are false and unsubstantiated. Defendants neither
 5   provide nor enroll consumers in the programs that they describe. First,
 6 Defendants' claim to enroll consumers in programs that will provide loan
 7 forgiveness.84 These claims are false. Sometime they describe a program
 8   providing loan forgiveness after 20 years.85 While individuals whose income
 9 remains low throughout their working lives may have some part of their loan
10 forgiven after 20 or 25 years under IDR,IDR is a repayment plan not a forgiveness
11   program.86 Because loan forgiveness under IDR is entirely dependent on
12 consumers' income over the 20 or 25-year loan term, and Defendants cannot
13   predict the earnings of consumers over that time-period, Defendants therefore
14   cannot promise that any part of a consumer's loan will be forgiven.
15         In many instances, Defendants also falsely claim to enroll consumers in
16   programs providing loan forgiveness after some other term of months or years.g~
17 The only loan forgiveness program that provides forgiveness of the remaining loan
18 balance after a term of years is the PSLF, and only employees ofthe government
19
20
21   82 Defendants' websites also contain statements contradicting the oral
     misrepresentations Defendants make during the sales pitch. The websites, however,
22   are irrelevant to the scheme, as consumers rarely, if ever, see the websites, and the
23   websites are not mentioned during the sales pitch.
     83 See, e.g., PX8 ¶ 6 at 525-26; PX12 ¶ 7 at 623-24; PX21 ¶ 8 at 764.
24   84 See fn. 71,supra.
25   85 See,e.g.,PXS¶5at445;PX16¶3 at691;PX18¶4 at717;PX21¶3at762.
     86 PX31 ¶ 8 at 918-19.
26
     g~ PX2 ¶ 3 at 368;PX4 ¶ 2 at 402;PX6 ¶ 4 at 470; PX8 ¶ 3 at 524-25; PX10 ¶ 3 at
27   572-73; PX11 ¶ 3 at 590-91; PX19 ¶ 3 at 730-31; PX26 ¶ 4 at 838;PX 28 ¶ 4 at 876-
     77; PX30 ¶ 3 at 913-14.
28
                                                                       Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHORITIES                                 915 2"d Ave., Ste. 289E
     IN SUPPORT OF TRO - 14                                            Seattle, Washington 9817
                                                                                  (206)220-635(
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 22 of 39 Page ID #:3604



 1   or anon-profit organization can enroll in the PSLF.gg Finally, Defendants falsely
 2 claim to provide loan forgiveness after payment oftheir fee.89 There is no program
                                                     90
 3 providing loan forgiveness after payment of a fee.
 4           Second, Defendants also claim they will enroll consumers in a loan
 5   discharge program that they have called the "Cause of Action Grievance,"
 6 claiming that that consumers are eligible for this program because they are victims
 7   ofthe predatory lending practices oftheir colleges. 91 This claim is also false or
 8   unsubstantiated. The only ED program that might be available to alumni of
 9 colleges that engaged in "predatory lending practices" is the BDR.92 At this time,
10 even experts in student loan payment programs have difficulty determining what
11   constitutes a successful BDR claim.93 The ED has processed BDR applications for
12 certain former students of Corinthian College, Inc.("CCI").94 These applications
13   were evaluated based on findings the ED adopted based on a judgment entered
14   against CCI.95 The ED has already completed its evaluation of most BDR claims
15   by former CCI students.96 The ED proposed implementation of a Borrower
16 Defense Rule, which was to go into effect this past summer, but the rule did not go
17   into effect and there are currently no established guidelines for evaluating BDR
18   applications.97 Moreover, the loans of borrowers who apply for BDR are often
19
   gg PX31¶7at918.
20 89 PX3 ¶¶ 5-6 at 384;PX7 ¶¶ 7-8 at 488;PX9 ¶ 4 at 557; PX13 ¶ 4 at 644; PX15 ¶ 3 a~
21 675-76; PX22 ¶ 3 at 783-84; PX23 ¶¶ 3-5 at 799-800; PX24 ¶ 3 at 813-14; PX25 ¶¶ 3-
   4 at 823-24; PX27 ¶ 4 at 859; PX29 ¶ 5 at 892.
22 90 pX31 ¶ 15 at 921-22.
   91
23 92 See fn. 72, supra.
      PX31 ¶¶ 4-6 at 916-18.
24 93 Id. ¶ 4 at 916.
   94 Id. ¶ 5 at 916-17.
25
     95 la
26 96 rd
27 97 Id. ¶¶ 4-5 at 916-17. The rule would have created a new federal standard for
   borrowers who received loan disbursements on or after July 1, 2017.
28
                                                                      Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHORITIES                                915 2"d Ave., Ste. 289E
     IN SUPPORT OF TRO - 15                                           Seattle, Washington 98174
                                                                                 (206)220-635C
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 23 of 39 Page ID #:3605



 1   placed into forbearance for a year or more. If the ED denies their applications,
 2   their loan balances will increase by the amount of unpaid interest accrued during
 3   the forbearance. As a result, those consumers will owe more than they owed prior
 4   to applying.98
 5          Third, Defendants' falsely claim to enroll consumers in programs providing
 6   reduced, often permanently reduced, monthly payments.99 While it is possible for
 7 federal student loan borrowers to secure reduced monthly payments under an IDR,
 8   no IDR program provides permanently reduced payments. Borrowers are required
 9 to reapply annually for reduced payments under IDR, and the payments increase as
10   the borrower's income increases.'oo Defendants cannot enroll consumers in any
11   IDR plan.'o'
12         Fourth, Defendants' claim to enroll consumers in a program providing
13   permanently reduced or eliminated interest is also false.102 The government sets
14   the interest rate for federal student loans via statute and there are no 0% interest
                              o3
15   federal student loans.'
16         Fifth, and finally, Defendants' claim that they work directly with the ED,or
17   are authorized or certified by the ED is patently false.104 The ED does not work
                                                      los
18   with third parties offering debt relief services, Defendants can only submit
19   applications for ED programs on consumers' behalf by convincing the consumer to
20   provide their account information so that they can access consumers' accounts
21
22
23   98 Id. ¶ 6 at 917-18.
     99 See fn. 73,supra.
24   ~ oo pX31 ¶ 8 at 918-19, ¶ 16 at 922-23.
25 '' o Id. ¶ 3 at 915-16, ¶ 17 at 923-25.
    ioz See fn. 74,supra.
26 '03
         PX31 ¶ 16 at 923, ¶ 18 at 925-27.
27  i o4 See fn. 75,supra.
    ios pX31 ¶3 at915-16;¶ 14 at 921.
28
                                                                        Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHORITIES                                  915 2"d Ave., Ste. 2896
     IN SUPPORT OF TRO - 16                                             Seattle, Washington 98174
                                                                                   (206)220-6350
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 24 of 39 Page ID #:3606



                              106
 1    posing as the consumer,       Once they have gained access, Defendants change
 2    consumers' PINs, passwords, and contact information, which can block consumers
 3 from accessing their own accounts and prevent loan servicers from contacting
 4 those consumers.'o
                   '
 5          Because of Defendants' false and unsubstantiated claims, consumers have
 6    paid tens of millions of dollars to Defendants to enroll them in programs
 7    purportedly providing loan forgiveness, discharge and other debt relief, when
 8   Defendants do not provide such services.108 Consumers have testified
 9    unequivocally that they would never have agreed to pay the requested fee had they
10 known that Defendants only fill out ED forms consumers can fill out
               lo9
1 1 themselves. In addition to losing the money paid as a fee to Defendants, after
12    agreeing to Defendants' services, some consumers find themselves in worse
13    positions relative to their loan status."o Some consumers discovered that
14 Defendants applied for forbearance without their knowledge and, in forbearance,
15   loan balances increase because unpaid accrued interest is added to the loan
16
     '06 See, e.g., PX3 ¶ 4 at 383-84; PX17 ¶ 4 at 709-10; PX18 ¶ 6 at 717-18; PX19 ¶ 4 at
17
     731; PX31 ¶ 2 at 915; ¶ 23 at 932; see, also,Id. ¶¶ 24-25 at 932-33(Defendants use
18   invalid power of attorney).
     log See, e.g., PX4 ¶ 9 at 405;PX 24 ¶¶ 3-4 at 813-14; PX31 ¶ 23 at 932(ED
19
     authorized loan servicer Great Lakes reported that 820 borrower email addresses were
20   changed to an email address it associated with EZ Doc Preps and First Student Aid).
21   108 See, e.g., PX4.1 ¶ 2 at 431; PX 5 ¶ 9 at 447;PX 9 ¶ 7 at 558-59. Sales calls often
     last for at least 20 to 45 minutes and up to two hours. Defendants do not disclose
22   during the lengthy calls that they only provide document preparation services. See,
23   e.g.,PX4¶5at403-04;PX8¶4at525;PX10¶5 at573;PX12¶3 at622;PX13¶4
     at 644; PX 19 ¶ 5 at 731; PX29 ¶ 6 at 892, ¶ 11 at 894.
24   l09 See, e.g., PXS ¶ 12 at 448;PX7 ¶ 10 at 489; PX13 ¶ 7 at 645;PX16 ¶ 6 at 693;
25   PX17 ¶ 7 at 711; PX23 ¶ 8 at 801; PX29 ¶ 11 at 894. In some instances, when
     Defendants do fill out ED forms for consumers, they falsify the consumers'
26
     qualifications for the ED program. See, e.g., PX6 ¶ 8 at 471-72; PX12 ¶¶ 5-8 at 623-
27   24, Att. C at 637-39.
     "o See, e.g., PX3 ¶ 9 at 386; PX7.1 ¶ 3 at 522; PX12 ¶ 6 at 623-24; PX29 ¶ 9 at 893.
28
                                                                       Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHORITIES                                 915 2"d Ave., Ste. 289E
     IN SUPPORT OF TRO - 17                                            Seattle, Washington 9817
                                                                                  (206)220-635(
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 25 of 39 Page ID #:3607



 1   balance.~ 1 ~ Other consumers discovered that Defendants applied for loan
 2 consolidation without their knowledge, resulting in new 20-year loans, which
 3   substantially increases their total loan repayment amount.'12 One consumer
 4   discovered that, because Defendants submitted a loan consolidation application on
 5   her behalf, she had permanently lost the ability to enroll in IDR and PSLF, plans
 6 for which she previously qualified.113 Others' loans became delinquent after
 7 signing on for Defendants' service.~ ~ 4
 8   IV. A TEMPORARY RESTRAINING ORDER SHOULD ISSUE
 9         AGAINST THE DEFENDANTS
10         A.     This Court Has the Authority to Grant the Requested Relief
11         This Court has the authority to grant temporary, preliminary, and permanent
12 relief pursuant to the second proviso of Section 13(b) ofthe FTC Act, 15 U.S.C.
13 § 53(b), which states,"in proper cases the Commission may seek, and after proper
14   proof, the court may issue, a permanent injunction."1 ~ 5 The Ninth Circuit has
15 recognized that any case alleging violations of a law enforced by the FTC
16 constitutes a proper case for which the FTC may seek injunctive relief.116
17 Moreover, Section 13(b) preserves the Court's inherent authority to order not only
18   permanent relief, restitution, and disgorgement ofill-gotten gains, but also to grant
19
20
21   1 1 i See, e.g., PX11 ¶ 6 at 591; PX12 ¶ 3 at 622,¶ 6 at 623-24; PX14 ¶ 5 at 663; see,
22 also, PX31 ¶ 11 at 920.
   '12 See, e.g., PX 12 ¶ 6 at 623-24; PX13 ¶ 6 at 645;PX16 ¶ 5 at 692; see, also, PX31
23
   ¶¶ 9-10 at 919-20.
24 '13 pX7.1 ¶ 3 at 522.
   'la See, e.g., PX3 ¶ 9 at 386;PX22 ¶ 5 at 784.
25
    ~ is FTC v. H.N. Singer, Inc., 668 F.2d 1107, 1110(9th Cir. 1982); see also, FTC v.
26 Gem Merch. Corp., 87 F.3d 466,469(11th Cir. 1996); FTC v. U.S. Oil &Gas
27 Corp., 748 F.2d 1431, 1434(11th Cir. 1984).
    1 16 FTC v. Affordable Media, LLC, 179 F.3d 1228, 1233 (9th Cir. 1999).
28
                                                                         Federal Trade Commissio
     MEMORANDUM OF POINTS AND AUTHORITIES                                   915 2"d Ave., Ste. 289
     IN SUPPORT OF TRO - 18                                              Seattle, Washington 9817
                                                                                    (206)220-635
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 26 of 39 Page ID #:3608



 1   ancillary and preliminary equitable relief. ~ ~ ~ The Ninth Circuit has held that a
 2 court may exercise the full breadth of its equitable authority in a Section 13(b)
 3   action because Congress "did not limit that traditional equitable power" when
 4 enacting the FTC Act."g Here, where the public interest is at stake, exercise ofthe
                                                             1 ~9
 5 Court's broad equitable power is particularly appropriate.
 6         B.     The FTC Meets the Standard for Granting A Government
 7                Agency's Request for Preliminary Injunctive Relief

 8         In determining whether to grant a preliminary injunction under Section
 9   13(b), a court "must 1) determine the likelihood that the Commission will
10   ultimately succeed on the merits and 2)balance the equities."120 Unlike private
                                                                                       21
11   litigants, the FTC need not prove irreparable injury, because injury is presumed.'
12   Although the FTC need not prove irreparable injury, the FTC has presented
13   sufficient evidence to establish that consumers will suffer irreparable harm from
14 Defendants' continued unlawful activities. Moreover, in balancing the equities, tY
                                                                        l22 As set forth
15 public interest should receive greater weight than private interests.
16   in this Memorandum, the FTC has amply demonstrated that it will ultimately
17   succeed on the merits of its claims and that the balance of equities favors
18   injunctive relief.
19
20
21 '17 FTC v. Stefanchik, 559 F.3d 924, 931 (9th Cir. 2009); FTC v. Pantron I Corp., 33
   F.3d 1088, 1102(9th Cir. 1994); FTC v. World Wide Factors, Ltd., 882 F.2d 344,
22 346-47(9th Cir. 1989).
23 ~ 18 Singer, Inc., 668 F.2d at 1113.
    1'9 United States v. Laerdal Mfg. Corp., 73 F.3d 852, 857(9th Cir. 1995);Pantron I
24 Corp., 33 F.3d at 1102; World Wide Factors, 882 F.2d at 347.
    12o Affordable Media, 179 F.3d at 1233 (quoting FTC v. Warner Commc'ns, Inc., 742
25
   F.2d 1156, 1160(9th Cir. 1984)); see, also World Wide Factors, 882 F.2d at 346 (9th
26
   Cir. 1989)(holding same).
27 izi Id.
    ~ 22 World Wide Factors, 882 F.2d at 347.
28
                                                                        Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHORITIES                                  915 2°d Ave., Ste. 289E
     IN SUPPORT OF TRO - 19                                             Seattle, Washington 9817
                                                                                   (206)220-635(
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 27 of 39 Page ID #:3609



                   1. The FTC Has Demonstrated It Is Likel~to Succeed on the
                      Merits
 2
            Generally, the FTC "meets its burden on the likelihood of success issue if it
 3
     shows preliminarily, by affidavit or other proof, that it has a fair and tenable
 4
                                                 t23 Moreover, in considering an
     chance of ultimate success on the merits."
 5
     application for a TRO or preliminary injunction, the Court has the discretion to
 6
                                lza
     consider hearsay evidence.
 7
            Section 5 of the FTC Act prohibits any material representation or omission
 8
                                                                                     lzs
     that would likely mislead consumers acting reasonably under the circumstances.
 9
     A claim is considered material if it "involves information that is important to
10
     consumers and, hence, is likely to affect their choice of, or conduct regarding, a
11
     product."126 The Court is not confined to analyzing isolated words and phrases,
12
     but must consider the overall "net impression" that Defendants' representations
13
     make upon consumers.127 A solicitation "capable of being interpreted in a
14
     misleading way" is construed against the maker of the solicitation.128 Moreover,
15
     courts have held that an unqualified results claim implies that consumers generally
16
17   123 FTC v. Beatrice Foods Co., 587 F.2d 1225, 1229(D.C. Cir. 1978)(quoting FTC v.
18 Lancaster Colony Corp., 434 F. Supp. 1088, 1090(S.D.N.Y. 1977)).
   'z4 Flynt Distrib. Co., Inc., v. Harvey, 734 F.2d 1389, 1394(9th Cir. 1984)(court may
19
    give inadmissible evidence some weight when doing so serves purpose of preventing
20 irreparable harm before trial); see also Heideman v. Salt Lake City, 348 F.3d 1182,
21 1 188 (10th Cir. 2003)(Federal Rules of Evidence do not apply to preliminary
    injunction hearings).
22 izs Stefanchik, 559 F.3d at 928; FTC v. Cyberspace.com, LLC,453 F.3d 1196, 1199
23 (9th Cir. 2006); FTC v. Gill, 265 F.3d. 944, 950(9th Cir. 2001); Pantron I Corp., 33
    F. 3d at 1095 (quoting In re Cliffdale Assocs., Inc., 103 F.T.C. 110, 164-65 (1984)).
24 126 Cyberspace.com, 453 F. 3d at 1201.
25 127 Id. at 1200 (solicitation can be deceptive by virtue of its net impression even if it
    contains truthful disclosures), cited in Stefanchik, 559 F.3d at 928; FTC v. Gill, 71 F.
26
    Supp. 2d 1030, 1043(C.D. Cal. 1999).
27 128 Simeon Mgmt. Corp. v. FTC,579 F.2d 1137, 1146(9th Cir. 1978)(quoting Resort
    CarRental Sys., Inc. v. FTC, 518 F.2d 962,964(9th Cir. 1975)).
28
                                                                        Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHORITIES                                  915 2"d Ave., Ste. 289
     1N SUPPORT OF TRO - 20                                             Seattle, Washington 9817
                                                                                   (206)220-6351
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 28 of 39 Page ID #:3610



                                                                                 129
      will receive the claimed results and that the benefit is a significant one. Express
 2 claims and deliberate implied claims are presumed to be material, so consumers
                                                                   13o
 3 not required to question their veracity to be deemed reasonable.
 4          As described in Section III.B, supra, Defendants violate Section 5(a) by
 5    making express false claims that: 1) Defendants are part of, affiliated with, or work
 6    directly with the government, government loan programs, the ED,or consumers'
 7    loan servicers; 2)consumers who purchase Defendants' debt relief services
 8    generally will have their monthly payments reduced or their loan balances forgiven
 9 in whole or in part; and 3)consumers are qualified for, or are approved to receive
10    loan forgiveness or other programs that will permanently lower or eliminate their
11    loan payments or balances. Defendants make these false claims to induce
12 consumers to pay exorbitant fees for what are merely document preparation
13   services, the limited extent of which are not adequately disclosed to the consumer.
14          These misrepresentations are not cured by the contradictory and sometimes
15   obscured disclaimer language in the "agreement" that Defendants pressure
16 consumers to e-sign at the end of the deceptive sales ca11.13 ~ The lengthy
17   document—which consumers are rushed to e-sign only after they have already
18   divulged their payment and other personal information—contains buried
19   disclaimers and false and contradictory statements. As the consumer testimony
20
     '29 FTC v. Five-Star Auto Club, 97 F. Supp. 2d 502, 528(S.D.N.Y. 2000)("At the
21
     very least it would have been reasonable for consumers to have assumed that the
22   promised rewards were achieved by the typical Five Star participant.")Id.
     13o Pantron I Corp., 33 F.3d at 1095-96; FTC v. Thompson Medical Co., 104 F.T.C.
23
     648, 816(1984), aff'd, 791 F.2d 189(D.C. Cir. 1986).
24   ~ 3 ~ See Resort Car Rental Sys., Inc., 518 F.2d at 964(The FTC Act is violated "if it
25   induces the first contact through deception" despite buyer later obtaining more
     information); FTC v. Gill, 71 F. Supp. 2d at 1043 (reliance on a disclaimer in a
26
     contract that "consumers eventually sign" fails because "the disclaimer is not include
27   in the representations" and "each representation must stand on its own merits, even if
     other representations contain accurate, non-deceptive information").
28
                                                                       Federal Trade Commissio
     MEMORANDUM OF POINTS AND AUTHORITIES                                 915 2"d Ave., Ste. 289
     IN SUPPORT OF TRO - 21                                            Seattle, Washington 98]7
                                                                                  (206)220-635
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 29 of 39 Page ID #:3611



 1   and hundreds of complaints from consumers who believed Defendants'
                                                                                  132
 2   misrepresentations demonstrate, Defendants' late disclaimers are ineffective.
 3   Moreover, the "disclosures" in the contracts that Defendants rush consumers to
 4   sign are not legally sufficient to neutralize the deception that occurs during often
                                          33
 5   quite lengthy sales presentations.'
 6         Defendants' conduct also violates three provisions of the TSR. The TSR
 7 provisions that specifically apply to sellers or telemarketers of"debt relief
 8   services," which it defines as "any program or service represented, directly or by
 9   implication, to renegotiate, settle, or in any way alter" debt between a consumer
10 and unsecured creditors.134 The TSR prohibits debt relief sellers or telemarketers
11   from misrepresenting an affiliation with the government and any other material
12 aspect of their services.135 The TSR also prohibits sellers and telemarketers from
13   requesting or receiving payment of any fees prior to the successful renegotiation or
14 reduction of at least one of the consumer's debts, and prior to the consumer
                                                    136
15 at least one payment pursuant to such reduction,
16
17
18   132 See Cyberspace.com, 453 F. 3d at 1201 (proof that representation actually

19 deceived consumers is "highly probative to show that a practice is likely to mislead
     consumers acting reasonably under the circumstances").
20 '33 Cyberspace.com, 453 F. 3d at 1200-01 (a solicitation may mislead by virtue of net
21 impression even though it also contains truthful information); FTC v. Johnson,96 F.
     Supp. 3d 1110, 1139(D. Nev. Mar. 31, 2015)(fine print disclosures offered after the
22 consumer had started the ordering process did not alter the misleading net impression
23 created by the solicitation). It is also no defense that the service Defendants do
     provide may have some value to some consumers. FTC v. Figgie Intl, Inc., 994 F.2d
24   595,604(9th Cir. 1993)(when something is sold through a misrepresentation, it does
25   not matter that it may have some value, it is in the method and practice of the selling
     that the fraud occurred).
26 l34
       I E) C.F.R. ¶310.2(0).
27 '3s 16 C.F.R. § 310.3(a)(2)(vii),(x).
   136 16 C.F.R. § 310.4(a)(5)(i).
28
                                                                        Federal Trade Commissi
     MEMORANDUM OF POINTS AND AUTHORITIES                                  915 2"d Ave., Ste. 28
     IN SUPPORT OF TRO - 22                                             Seattle, Washington 981
                                                                                   (206)220-63
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 30 of 39 Page ID #:3612



           The FTC has presented abundant evidence showing it is likely to succeed on
 2 the merits of its claims that Defendants violated Section 5 of the FTC Act and
 3   multiple provisions of the TSR.~ 37
 4                2. The Equities Weigh in Favor of Grantin~junctive Relief
 5         Once the FTC establishes the likelihood of its ultimate success on the merits.
6    preliminary injunctive relief is warranted if the Court, weighing the equities, finds
 7 that relief is in the public interest. In balancing the equities between the public and
 8 private interest, "public equities receive far greater weight."138 Because
 9 Defendants "can have no vested interest in business activity found to be illegal,"139
10 a balance of equities tips definitively toward granting the requested relief.'ao
11         The evidence demonstrates that the public equities -- protection of
12 consumers from Defendants' deceptive marketing oftheir services, effective
13 enforcement of the law, and the preservation of Defendants' assets -- weigh
14   heavily in favor of granting the requested injunctive relief. Granting such relief is
15 also necessary because Defendants' conduct indicates that they will likely continue
16 to deceive the public.lal
17        In contrast,"there is no oppressive hardship to defendants in requiring them
18   to comply with the FTC Act, refrain from fraudulent representation or preserve
19
20
21   137 See, supra, Section III.B.
     13g Warner Commc'ns, Inc., 742 F.2d at 1165. See also Affordable Media, 179 F.3d at
22   1236 (quoting World Wide Factors, Ltd., 882 F.2d at 347).
     ~ 39 United States v. Diapulse Corp. ofAm.,457 F.2d 25, 29(2d Cir. 1972)(quoting
23
     United States v. Ellis Research Laboratories ,Inc., 300 F.2d 550,554 (7th Cir. 1962)).
24   iao Commodity Futures Trading Comm'n v. British Am. Commodity Options Corp.,
25   560 F.2d 135, 143(2d Cir. 1977)("A court of equity is under no duty `to protect
     illegitimate profits or advance business which is conducted [illegally]."')(quoting
26
     FTC v. Thomsen-King & Co., 109 F.2d 516, 519(7th Cir. 1940)).
27   14' Five-Star Auto Club,97 F. Supp. 2d at 536 ("[P]ast illegal conduct is highly
     suggestive ofthe likelihood of future violations).
28
                                                                       Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHORITIES                                 915 2°d Ave., Ste. 289t
     IN SUPPORT OF TRO - 23                                            Seattle, Washington 9817
                                                                                  (206)220-635(
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 31 of 39 Page ID #:3613



 1    their assets from dissipation or concealment."t42 Because the injunction will
 2 ' preclude only harmful, illegal behavior, the public equities supporting the propo
 3    injunctive relief outweigh any burden imposed by such relief on Defendants and
 4 the public interest is served by stopping the illegal behavior.143
 5          C.     Defendants are a Common Enterprise and Jointly and Severally
 6                 Liable for the Law Violations

 7         "When one or more corporate entities operate as a common enterprise, each
 8    may be held liable for the deceptive acts and practices ofthe others.~~144 When
 9 determining whether a common enterprise exists,"the pattern and frame-work of
1~    the whole enterprise must be taken into consideration."145 Courts look to a variety
11    of factors including: common control, the sharing of office space and officers,
12    whether the business is operated through a maze of interrelated companies, unified
13 advertising, and evidence showing strongly interdependent economic interests or
                                      146                          'l4
14 the pooling of assets and revenues, No one factor is controlling.
15          The FTC has submitted substantial evidence of the entities' "interdependent
16 economic interests." The Corporate Defendants use the same telephone sales room
17    located at 1435 S. La Cienega Blvd.,148 and telephone accounts, established by
18
      142 World Wide Factors, 882 F.2d at 347.
19    143 See, e.g., Nat'l Soc'y ofProf'l Eng'rs v. United States, 435 U.S. 679,697-98
20   (1978).
      i 44 FTC v. Think Achievement Corp., 144 F. Supp. 2d 993, 1011 (N.D. Ind. 2000),
21
     aff'd 312 F.3d 259(7th Cir. 2002)(citing Sunshine Art Studios, Inc. v. FTC,481 F.2d
22    1 171, 1175 (1st Cir. 1973); Delaware Watch Co. v. FTC,332 F.2d 745, 746-47(2d
23    Cir. 1964)).
      l4s FTC v. Wyndham Worldwide Corp., 2014 WL 2812049, at *5(D. N.J. June 23,
24   2014),(quoting Delaware Watch Co., 332 F.2d at 746).
      lab FTC v. Direct Benefits Group, LLC,2013 WL 3771322, at *18(M.D. Fla. July 18,
25
     2013).
26    14~ FTC v. Consumer Health Benefits Association, 2011 WL 3652248 at *5(E.D. N.Y.
27    Aug. 18, 2011).
      148 PXl ¶ 34 at 43, ¶ 41.d at 45, Att. AA at 248; ¶ 60.a at 52.
28
                                                                        Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHORITIES                                  915 2°d Ave., Ste. 289E
     IN SUPPORT OF TRO - 24                                             Seattle, Washington 9817
                                                                                   (206)220-635(
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 32 of 39 Page ID #:3614



                                                    149 The Corporate Defendants offer
 1    Naderi, Rubeni, and Gabbaie, to conduct sales.
 2 and sell the same services and use the same contract and other forms. 150 When
 3    consumers purchase Defendants' services under any name, they receive identical
 4 welcoming e-mails that provide access to a new online account through the same
                                                                                 ls2
 5 "student debt portal."ls' Defendants also maintain a shared customer database,
 6 and several consumers report that their transaction involved two or more ofthe
 7 Corporate Defendants.153 Bank records also show that, while each entity maintains
                                                                   ls4
 8 some separate sales staff, they also share several key employees and commingle
         lss
 9 funds.
10          D.    The Individual Defendants are Liable for Injunctive and
11                Monetary Relief

12          The Individual Defendants are liable for injunctive and monetary relief for
13   the law violations committed by the Corporate Defendants. To obtain an
14    injunction against an individual, the FTC must show that the individual either had
15
16
17    X49 pXl ¶¶ 32-36 at 43, Att. W at 138-40.
18    iso See, e.g., PX3 Att. A at 388-97(ULC/Alumni); PX7 Att. A at 490-99(Academy

19    Doc Prep); PX9 Atts. A and B at 561-71 (Allied); PX12 Atts. A and B at 626-36(EZ
      Doc Preps); PX19 Att A. at 734-43 (First Grad Aid); PX29 Att. B at 899-910
20   (Premier).
      ~5~ Id
21   's2 This is demonstrated by the fact that when an FTC investigator made an
22 undercover call to EZ Doc Preps and later to First Grad Aid using the same
23 undercover phone, the FGA representative was able to identify him from his
   undercover telephone number. PX36 lns. 8-16 at 1360-61.
24 's3 See, e.g., PX2 ¶ 3 at 368, Att. A at 373(Alumni Aid/First Document Aid); PX17
25 ¶¶ 4-6 at 709-11 (EZ Doc Preps/FDA/Grads Aid/Academic Aid Center/Academy Doc
   Prep); PX21 ¶ 2 at 761, ¶ 11 at 765 (First Grad Aid/LTnited Legal Discharge); PX22 ¶
26
   2 at 783, Att. A at 788.
27 s4 pX38 ¶¶ 3-4 at 1405-06, Atts. A-B at 11407-18.
   '
    iss pX37 ¶¶ 9-19 at 1379-80.
28
                                                                      Federal Trade Commissio
     MEMORANDUM OF POINTS AND AUTHORITIES                                915 2"d Ave., Ste. 289
     IN SUPPORT OF TRO - 25                                           Seattle, Washington 9817
                                                                                 (206)220-635
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 33 of 39 Page ID #:3615



                                                                                           156
 1   the authority to control the unlawful activities or participate directly in them,           In
 2 general, an individual's status as an officer, or as someone with the authority to
 3   sign documents on the corporation's behalf, gives rise to a presumption of
 4   authority to control a small closely held corporation.ls~ Assuming the duties of a
                                                                                   Ss
 5   corporate officer is probative of an individual's participation or authority.'
 6         An individual subject to injunctive liability is liable for monetary redress for
 7 corporate practices if the individual had, or should have had, knowledge or
                                                                   159
 8   awareness ofthe corporate defendant's misrepresentations,           This knowledge
 9 element, however, need not rise to the level of subjective intent to defraud
10 consumers.160 Instead, the FTC need only demonstrate that the individual had
11   actual knowledge of material misrepresentations, reckless indifference to the truth
12 or falsity of such representations, or an awareness of a high probability of fraud,
                                                       161
13 coupled with an intentional avoidance of the truth. "participation in corporate
                                        162
14 affairs is probative of knowledge."
15         As discussed above, Naderi, Gabbaie, Rubeni, Reuveni, Ratliff, and
16   Azinkhan are each a principal of one or more Corporate Defendants. They have
17 signatory authority over corporate bank accounts and merchant accounts used to
18
19   i s6 FTC v. Network Servs. Depot, Inc., 617 F.3d 1127, 1138 n.9 (9th Cir. 2010)(citing
20 FTC v. Publ'g Clearing House, Inc., 104 F.3d 1168, 1170(9th Cir. 1997)).
21 157  Publ'g Clearing House, 104 F.3d at 1171.
    iss FTC v. Amy Travel Servs., Inc., 875 F.2d 564, 573(7th Cir. 1989.
22 ls9 Network Servs. Depot, 617 F.3d at 1138-39; Stefanchik, 559 F.3d at 931.
   '6o Affordable Media, 179 F.3d at 1234; Amy Travel Servs., 875 F.2d at 574.
23
    16'Network Sews. Depot, 617 F.3d at 1138-39; Stefanchik, 559 F.3d at 93;
24 Cyberspace.com, 453 F.3d at 1202.
    162 Affordable Media, 179 F.3d at 1235 (quoting Amy Travel, 875 F.2d at 574)(control
25
    of telemarketing company was "strong evidence of...knowledge"). See, e.g.,
26
    Network Servs. Depot, 617 F.3d at 1138-40 (distribution of deceptive promotional
27 materials was evidence of knowledge);Publ'g Clearing House, 104 F.3d at 1171
   (company president's work as telephone solicitor was evidence of her knowledge).
28
                                                                          Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHORITIES                                    915 2nd Ave., Ste. 289E
     IN SUPPORT OF TRO - 26                                               Seattle, Washington 9817
                                                                                     (206)220-635(
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 34 of 39 Page ID #:3616



                                  163
 1   process consumer payments,         All but Rubeni have established and/or paid for
                                                                                           164
 2   multiple Internet and email domain names used by the Corporate Defendants.
 3   Naderi, Rubeni, and Gabbaie are responsible for the two telephone accounts used
                                                  165
 4   by the Defendants to market their services,        The Individual Defendants had both
 5   the authority to control and direct knowledge, at a minimum reckless disregard for
 6 the representations made by their telemarketers to consumers, of the Corporate
 7 Defendants' wrongful acts. Accordingly, they are liable for both injunctive and
 8   monetary relief for their violations ofthe FTC Act and the TSR.
 9         E.     An Asset Freeze is Necessary to Preserve the Court's Ability to
                  Fashion Meaningful Relief
10
11         As part ofthe permanent relief in this case, the FTC will seek equitable
12   monetary relief, including consumer restitution. To preserve the availability of
13 funds for such equitable monetary relief, the FTC requests that the Court issue an
14 order freezing the Corporate and Relief Defendants' assets and at least temporarily
15 freezing the assets ofthe Individual Defendants. Such an order is well within the
                     166
16 Court's authority, and similar to the equitable relief granted in prior FTC cases
17 in this District and the Ninth Circuit.167
18        A party seeking an asset freeze must show a likelihood of dissipation ofthe
19 claimed assets or other inability to recover money damages, if relief is not
20 granted.168 An asset freeze is justified where, as here, the business is permeated
21
    163 PX1 ¶¶ 37-59 at 44-52.
22 '64 pXl ¶¶ 22-23 at 39-40.
   '6s pXl ¶¶ 32-36 at 43-44.
23
    166 World Wide Factors, 882 F.2d at 347("Since the FTC has shown a probability of
24 success on the merits, the district court did not abuse its discretion in granting the
25 injunction to freeze World Wide's assets"); H.N. Singer, 668 F.2d at 1113 ("13(b)
   provides a basis for an order freezing assets").
26
    167 See, Certification and Decl. of Counsel ¶¶ 11-12 (file concurrently herewith).
   '
27 6s Johnson v. Couturier, 572 F.3d 1067, 1085 (9th Cir. 2009); but see FTC v. Wealth
   Educations, Inc., CVC12-02357 SJO(JEMx)(C.D. Ca. Apr. 6, 2015)(Order Freezing
28
                                                                        Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHOWTIES                                   915 2°d Ave., Ste. 289E
     IN SUPPORT OF TRO - 27                                             Seattle, Washington 9817
                                                                                   (206)220-635(
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 35 of 39 Page ID #:3617



  1     with fraud.169 Courts have also frozen individuals' assets where they controlled
 2 deceptive activity and had actual knowledge or constructive knowledge ofthe
                       l~o
 3 deceptive practices.
 4            A freeze of the Corporate Defendants' assets and at least a temporary freeze
 5      ofthe Individual Defendants' assets is appropriate here to preserve the status quo,
 6 to ensure that funds do not immediately disappear and to preserve Defendants'
 7 assets for final relief. The Corporate Defendants have fraudulently extracted more
 8      than $20 million from consumers since mid-2015171 and the Individual Defendants
 9      have lied on merchant account applications in order to obtain merchant accounts
10 through which they process the deceptively-secured consumer payments. On the
11      merchant account applications the FTC has obtained, the Individual Defendants
12 stated on some of the applications that they were engaged in retail business, which
13      is false.172 In other merchant applications Defendants identified their business as
14 "document preparation," but on one, Naderi was required to submit a statement
15      that,"Merchant understands that they will not accept loan payments or perform
16      any loan business modifications. The merchant will present the legal ~Lovernment
17      program that has been made public by the U.S. government to assist students in
18      their repayment plan. Once the student has chosen the government payback plan,
19 the merchant will assist in selecting and filling out the proper paperwork (emphasis
20 added)." 173 Consumer evidence shows that Defendants do not represent their
21 'I
22 Assets, ECF 14 at 9)("[W]hen a government agency is a movant, the mere
23 `possibility (as opposed to likelihood) of dissipation of assets is sufficient to justify a
   freeze.")
24 '69 See, e.g. SEC v. Manor Nursing Ctrs., Inc., 458 F.2d 1082, 1106(2d Cir. 1972);
25 SEC v. R.J. Allen &Associates, Inc., 386 F. Supp. 866, 881 (S.D. Fla. Nov. 29, 1974).
    loo Amy Travel, 875 F.2d at 574.
26
    ~ ~~ PX37 ¶ 8 at 1378-80, ¶ 35 at 1382, Att. B at 1386.
27 ~ 72 PX 1 ¶¶ 38-40 at 44-45, Atts. X-Z at 145, 184, 224.
    173 Id. ¶ 42 at 46, Att. BB at 259, 262.
28
                                                                         Federal Trade Commission
        MEMORANDUM OF POINTS AND AUTHORITIES                                915 2"d Ave., Ste. 289E
        iN SUPPORT OF TRO - 28                                           Seattle, Washington 9817
                                                                                    (206)220-635(
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 36 of 39 Page ID #:3618



 1   services this way and that this statement is false.
 2         Moreover, the Individual Defendants have taken from the corporations all
 3   profits from their unlawful business operation and it is not possible to discern
 4   where those funds have been placed. Bank records the FTC obtained through
 5   compulsory process show that $4.5 million have been transferred out of the
 6 company in large chunks, mostly in the past year.174 Without a temporary freeze
 7   assets and a full accounting, we may never know what became of the funds
 8 Defendants have received from consumers: $2 million to Naderi;175 $608,000 to an
 9   unidentified personal bank account;176 $270,000 to family members;~~~ $423,000 to
10 companies set up in the names of employees;~~g $550,000 to an "investment"
11   company owned by an individual who has also been involved in student loan debt
12 relief;179 $106,000 to a company in the Dominican Republic;180 $465,472 in
13   withdrawals,lg' and $122,000 to two companies in which an Individual Defendant
14   has an interest.182 Without an immediate asset freeze, dissipation and misuse of
15   assets is highly likely and consumers may never receive any of their money back.
16         Indeed, Defendants who have engaged in illegal activities are likely to waste
17   assets prior to resolution of the action.183 In the FTC's long experience of
18   enforcing the FTC Act and the TSR, defendants engaging in similarly serious
19
     174 PX37 ¶¶ 20-32 at 1380-98.
20   175 Id. ¶ 20 at 1380-81, Att. C at 1387.
     1'6 Id. ¶ 25 at 1381-82, Att. G at 1396.
21
     t~~ PX1 ¶ 61 at 52-53; PX37 ¶¶ 26-27 at1382, Att. H at 1397-98.
22   ~~g PX1 ¶ 62 at 53, Att. TT at 354-59; PX37 ¶¶ 23-24 at 1381, Atts. E-F at 1390-95;
23    ¶ 30 at 1383, Att. K at 1402; PX38 Att. A at 1407 and 1409(Katry and James are
     both employees).
24   179 pXl ¶ 61 at 52-53; PX37 ¶ 29 at 1382, Att. J at 1400-01.
     iso pX37 ¶ 31 at 1383, Att. L at 1403.
25
     I s' Id. ¶ 32 at 1383.
26   182 PX1 ¶¶ 63-64 at 53, Atts. LTLJ and VV at 360-67; PX37 ¶¶ 21-22 at 1381, Att. D at
27   1388-89.
     la3 See Manor Nursing Ctrs., 458 F.2d at 1106.
28
                                                                      Federal Trade Commissi
     MEMORANDUM OF POINTS AND AUTHORITIES                                915 2"d Ave., Ste. 28
     IN SUPPORT OF TRO - 29                                           Seattle, Washington 981
                                                                                 (206)220-63
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 37 of 39 Page ID #:3619



     unlawful practices have secreted assets and destroyed documents upon learning of
 2 an impending law enforcement action.184 The evidence the FTC has submitted
 3 ~ ~ demonstrates that Defendants' enterprise is permeated by deception and unlawful
 4   activity. Without a temporary asset freeze over the Corporate, Individual, and
 5   Relief Defendants, a full accounting of all Defendants assets never be obtained or
 6   verified and the Court's ability to order consumer restitution will be severely
 7   impaired.
 8          F.     A Temporary Receiver is Needed to Determine the Scope of
                   Injury, Locate and Preserve Business Assets and Records,and
 9
                   Protect Consumers' Personal Financial Records
10
            The FTC seeks appointment of a temporary receiver over the Corporate and
11
     Relief Defendants. This Court has inherent power to appoint a receiver incident to
12
     its statutory authority to issue permanent injunctions under Section 13(b) of the
13
     FTC Act.185 A receiver is needed when a corporate defendant has defrauded the
14
     public.~ 86
15
            With Defendants in continued control of their business, they are likely to
16
     destroy evidence, dissipate the fruits oftheir fraud, and continue to defraud
17
     consumers. A neutral receiver would prevent further harm to consumers, locate
18
     and secure assets and records, assess the extent of the fraud, trace the proceeds of
19
     the fraud, prepare an accounting, determine if the company can be operated
20
     legitimately and profitably, make an independent report of the Corporate
21
22
23   ls4 Certification and Decl. of Counsel ¶¶ 9-12 [filed concurrently herewith].
24   185 U.S. Oil &Gas, 748 F.2d at 1432. See, e.g. FTC v. Advanced Mgmt. Servs. NW,
25   LLC, CV-10-148-LR (E.D. Wash. May 10, 2010).
     ~ 86 SEC v. First Fin. Grp. ofTexas, 645 F.2d 429,438(5th Cir. 1981)("hardly
26   conceivable that the trial court should have permitted those who were enjoined from
27   fraudulent misconduct to continue in control of[the corporate defendant.]" quoting
     SEC v. Keller Corp., 323 F.2d 397, 403 (7th Cir. 1963)).
2g
                                                                      Federal Trade Commissio
     MEMORANDUM OF POINTS AND AUTHORITIES                                915 2"d Ave., Ste. 289
     IN SUPPORT OF TRO - 30                                           Seattle, Washington 9817
                                                                                 (206)220-635
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 38 of 39 Page ID #:3620



 1   Defendants' activities to the Court, and secure consumer records containing
 2 sensitive personal financial other information.
 3          G.     Immediate Access and Limited Expedited Discovery are
 4                 Necessary

 5          The proposed TRO directs the temporary receiver to provide both the FTC
 6   and Defendants with reasonable access to corporate Defendants' premises. Such
 7   immediate access enables the receiver to quickly and efficiently locate and secure
 8   assets Defendants have wrongfully taken from consumers, identify possible
 9 additional defendants, locate and secure documents pertaining to Defendants'
10 business, and locate Defendants, should they attempt to evade service. The
11   business premises to which the receiver and the FTC would have immediate access
12 includes the offices and telephone rooms located at 1435 S. La Cienega Blvd.
13       In addition, the FTC seeks permission to conduct depositions with forty-
14   eight hours' notice and to issue requests (or subpoenas) for production of
15   documents on five days' notice for these purposes. District courts may depart
16   normal discovery procedures,'$
                                 '  particularly as preliminary relief in a case

17   involving the public interest. ~ gg
18          H.     The Ex Parte TRO Should Issue Without Notice
19          The Defendants' ongoing and deliberate decption and the risk of dissipation
20   of assets and document destruction in this case,justifies ex parte relief without
21   notice. This Court is permitted to enter ex parte orders without notice if it appears
22 notice will result in irreparable injury and the applicant certifies the reason why
23   such action is necessary. Fed. R. Civ. P. 65(b); L.R. 7-19.2. Issuing the TRO ex
24 parte in this case is indispensable to preserving the status quo and securing full anc
25
26 ~ g~ See Fed. R. Civ. P. 26(d), 30(a)(2), 33(a), and 34(b).
27 ~ gg Equitable powers are broader if the public interest is involved. Porter v. Warner
   Holding Co., 328 U.S. 395, 398,66 S. Ct. 1086, 1089(1946).
28
                                                                       Federal Trade Commissior
     MEMORANDUM OF POINTS AND AUTHORITIES                                 915 2°d Ave., Ste. 2891
     IN SUPPORT OF TRO - 31                                            Seattle, Washington 9817
                                                                                  (206)220-635(
 Case 2:17-cv-07048-SJO-KS Document 98 Filed 09/28/17 Page 39 of 39 Page ID #:3621



 1    effective relief pending a hearing on the preliminary injunction. Ex parte TROs
 2 are granted to serve the "underlying purpose of preserving the status quo and
 3    preventing irreparable harm just so long as is necessary to hold a hearing, and no
 4    longer."1s9
 5     V. CONCLUSION
 6          Defendants have caused and likely will continue to cause substantial public
 7    injury by deceptively marketing student loan debt relief services to financially
 8    vulnerable consumers. For the reasons stated above, the FTC respectfully requests
 9 the proposed ex pane TRO to protect the public from further harm and help ensure
10 effective relief for those already harmed.
11
12 Dated: September 25, 2017                 Respectfully submitted,
13
14                                                        rham
                                             ELEANOR DURHAM
15
                                             NADINE S. SAMTER
16                                           Attorneys for Plaintiff
17                                           Federal Trade Commission
18
19
20
21
22
23
24
25
26
27    189 Reno Air RacingAss'n, Inc. v. McCord,452 F.3d 1126, 1131 (9th Cir. 2006)
     (quoting Granny Goose Foods, Inc. v. Teamsters, 415 U.S. 423, 438-39 (1974)).
28
                                                                       Federal Trade Commission
     MEMORANDUM OF POINTS AND AUTHORITIES                                 915 2"d Ave., Ste. 2896
     IN SUPPORT OF TRO - 32                                            Seattle, Washington 98]74
                                                                                  (206)220-6350
